 1

 2

 3

 4

 5

 6-

 7                                                                  The Honorable Ronald B. Leighton

 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT TACOMA

10 JUDITH COX and CHARLES COX
     individually and as Personal                        NO. 14-05923RBL
11 Representatives of the Estates of C.J.P.
     and B.T.P.,                                         DECLARATION OF PETER J.
12                                                       HELMBERGER IN SUPPORT OF
                                                         DEFENDANTS' MOTION FOR
13                               Plaintiffs,             SUMMARY JUDGMENT

14                               V.


15  STATE OF WASHINGTON,
    DEPARTMENT OF SOCIAL AND
16 HEALTH SERVICES, FOREST
    JACOBSON, ROCKY STEPHENSON,
17 JANE WILSON, and BILLIE REED-
    LYYSKI,
18

19                               Defendants.

20            PETER J. HELMBERGER hereby declares under penalty of perjury under the laws of the

21    state of Washington that the following is true and correct:

22            1.     I am over the age of 18, competent to testify as to the matters stated herein and

23    make this declaration based on my personal knowledge. I am one of the Assistant Attorneys

24    General assigned to represent the State of Washington in this case.

25

26

       DECLARATION OF PETER J.                                              OFFICE OF THE ATTORNEY GENERAL
                                                                                1250 Pacific Avenue, Suite 105
       HELMBERGER IN SUPPORT OF                                                        P.O. Box 2317
       DEFENDANT'S MOTION FOR                                                        Tacoma, WA 98401
       SUMMARY JUDGMENT                                                                (253) 593-5243
       Case No. 14-05923 RBL
 1
            2.      Attached to my declaration as Exhibit A is a true and correct copy of the Guardian
 2
     ad Litem's Report to the Court authored by Julio Serrano, Jr., filed in Pierce County Case Number
 3
     11-7-01802-8 on January 6, 2012.
 4
            DATED this 30th day of July, 2015 in Tacoma, Washington.
 5
                                                 (1
 6                                                          //

 7                                              PETERHELMBERGER, WSBA No. 23041
                                                Assistant Attorney General
 8
 9

10

11

12

13

14

15

16

17
18

19
20

21

22

23

24

25

26

      DECLARATION OF PETER J.                          2                OFFICE OF THE ATTORNEY GENERAL
                                                                            1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                     P.O. Box 2317
      DEFENDANT'S MOTION FOR                                                     Tacoma, WA 98401
      SUMMARY JUDGMENT                                                             (253) 593-5243
      Case No. 14-05923 RBL
1
                                       CERTIFICATE OF SERVICE
2
             I hereby certify that on this 30th day of July, 2015, I caused to be electronically filed the
3
     foregoing document with the Clerk of the Court using the CIv1/ECF system which will send
 4
     notification of such filing to the following:
 5
     James S. Rogers
 6   Elizabeth Donaldson
     Cheryl Snow
 7   Law Offices Of James S. Rogers
     1500 Fourth Avenue, Suite 500
     Seattle, WA 98101
 8
     (206) 621-8525
 9   jsr@jsrogerslaw.com
     csnow(j srogerslaw.com
10   liz(j srogerslaw.com
11   Anne Bremner
     Evan Bariault
12   1200 Fifth Avenue, Suite 1900
     Seattle, WA 98101
13   (206) 486-8000

14   abremner@freybuck.com
     ebariault@freybuck.com
15
16                                                   ROBERT W. FERGUSON
                                                     Attorney General
17
                                                     /VPete4j. e1411bee4-
18                                                   PETER J. HELMBERGEr, WSBA No. 23041
                                                     Assistant Attorney General
19                                                   1250 Pacific Avenue, Suite 105
                                                     Tacoma, WA 98401
20                                                   Telephone: (253) 593-5243
                                                     FAX: (253) 593-2449
21                                                   E-mail: PeterH(atg.wa. gov

22                                                   //Toep1V'1. Dü'
                                                     JOSEPH M. DIAZ, WSBA No. 16170
23                                                   Assistant Attorney General
                                                     7141 Cleanwater Ln SW
24                                                   Tumwater, WA 98501
                                                     Telephone: (360) 586-6300
25                                                   FAX: (360) 586-6655
                                                     E-mail: JosephD(äatg.wa.gov
26                                                   Attorneys for Defendants


      DECLARATION OF PETER J.                             3                OFFICE OF THE ATTORNEY GENERAL
                                                                               1250 Pacific Avenue, Suite 105
      HELMBERGER IN SUPPORT OF                                                        P.O. Box 2317
      DEFENDANT'S MOTION FOR                                                        Tacoma, WA 98401
      SUMMARY JUDGMENT                                                                (253) 593-5243
